Case 2:10-cr-20635-DML-MKM ECF No. 429, PageID.1800 Filed 04/22/13 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                               Case Number 10-20635
                        Plaintiff,                             Honorable David M. Lawson

 v.

 HECTOR SANTANA, MANUEL ANTONIO
 SOTO, CHRISTOPHER ESPINOZA, and
 JUAN RAMON RESPARDO-RAMIREZ,

                   Defendants.
 _______________________________________/

              ORDER DENYING SUPPLEMENTAL MOTION TO SUPPRESS
                       CO-CONSPIRATOR STATEMENTS

        On April 19, 2013, defendant Espinoza made an oral motion to exclude certain statements

 by alleged co-conspirators, in which the remaining defendants joined. After an offer of proof from

 the government, the Court made a conditional finding of admissibility and denied the defendants’

 motion. See United States v. Enright, 578 F.2d 980, 985 (6th Cir. 1978); United States v. Vinson,

 606 F.2d 149, 153 (6th Cir. 1979). The Court stated that it would determine admissibility at the

 conclusion of trial and that defendant Espinoza could renew his motion, move for a judgment of

 acquittal under Federal Rule of Criminal Procedure 29, or seek a declaration of mistrial at that time.

        On April 21, 2013, defendant Espinoza filed a supplemental motion in support of his oral

 motion to prohibit co-conspirator statements. In his supplemental motion, defendant Espinoza also

 requests that the Court enter an order requiring the government to provide defense counsel with prior

 notice of its intent to introduce similar evidence through future witnesses. To the extent that the

 defendant requests that the Court reverse its prior ruling conditionally admitting the statements, the

 defendant’s motion is essentially a motion for reconsideration. Motions for reconsideration may be
Case 2:10-cr-20635-DML-MKM ECF No. 429, PageID.1801 Filed 04/22/13 Page 2 of 3




 granted pursuant to E.D. Mich. LR 7.1(g)(1) when the moving party shows (1) a “palpable defect,”

 (2) that misled the court and the parties, and (3) that correcting the defect will result in a different

 disposition of the case. E.D. Mich. LR 7.1(g)(3). A “palpable defect” is a defect which is obvious,

 clear, unmistakable, manifest, or plain. Mich. Dep’t of Treasury v. Michalec, 181 F. Supp. 2d 731,

 734 (E.D. Mich. 2002) (citations omitted). However, motions for reconsideration should not be

 granted when they “merely present the same issues ruled upon by the court, either expressly or by

 reasonable implication.” E.D. Mich. LR 7.1(g)(3). In his supplemental motion, the defendant raises

 the same arguments raised in his oral motion. Because the defendant has not demonstrated that the

 Court’s conditional admission of the evidence was based on a palpable defect, the Court will deny

 the defendant’s supplemental motion.

        To the extent that the defendant seeks prior notice of the government’s intent to seek the

 admission of future alleged co-conspirator statements, the defendant’s motion is essentially a motion

 for discovery under Federal Rule of Criminal Procedure 16. The Court’s scheduling order stated

 that such motions were due by September 24, 2012. As such, the defendant’s motion is untimely

 and the Court will deny it.

        Accordingly, it is ORDERED that defendant Espinoza’s supplemental motion to exclude

 co-conspirator’s statements [dkt. #426] is DENIED.

                                                s/David M. Lawson
                                                DAVID M. LAWSON
                                                United States District Judge

 Dated: April 22, 2013




                                                   -2-
Case 2:10-cr-20635-DML-MKM ECF No. 429, PageID.1802 Filed 04/22/13 Page 3 of 3




                                            PROOF OF SERVICE

                    The undersigned certifies that a copy of the foregoing order was served
                    upon each attorney or party of record herein by electronic means or first
                    class U.S. mail on April 22, 2013.

                                                      s/Deborah R. Tofil
                                                      DEBORAH R. TOFIL




                                                      -3-
